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                         United States District Court
                            SOUTHERN DISTRICT OF CALIFORNIA


Seth Miller
                                                            Civil Action No. 15cv710-MMA(MDD)

                                              Plaintiff,
                                       V.
Midland Credit Management Inc                                 JUDGMENT IN A CIVIL CASE


                                            Defendant.


Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
or heard and a decision has been rendered.

IT IS HEREBY ORDERED AND ADJUDGED:
The Court finds that Judge Dembin issued an accurate report and well-reasoned recommendation that
the 26 cases in which Plaintiffs did not complete and serve discovery questionnaires or respond to the
Court's order to show cause be dismissed with prejudice. The Court, therefore, adopts the R&R in its
entirety and grants in part Defendants' motion for order to show cause why the cases in which Plaintiffs
failed to timely respond to the discovery questionnaire should not be dismissed. As such, the Court
dismisses with prejudice all claims brought by Plaintiff Aisha Richardson in Miller, et al. v. Midland
Funding LLC, et al., 3:17cv473-MMA (MDD). The Clerk of Court is instructed to terminate Plaintiff
Aisha Richardson as to 3:17cv473-MMA (MDD). Additionally, the Court dismisses with prejudice the
following cases in their entirety and the Clerk of Court is instructed to close these cases:
(see attachment for list)




Date:          2/21/19                                         CLERK OF COURT
                                                               JOHN MORRILL, Clerk of Court
                                                               By: s/ R. Chapman
                                                                                   R. Chapman, Deputy
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                       United States District Court
                            SOUTHERN DISTRICT OF CALIFORNIA

                                        (ATTACHMENT)

                                                              Civil Action No. 15cv710MMA(MDD)


Carter v. Midland Funding LLC, et al., 3:14cv1160-MMA (MDD);
Clark v. Midland Credit Management, Inc., 3:16cv2078-MMA (MDD);
Conger v. Midland Credit Management, Inc., 3:16cv2365-MMA (MDD);
De La Cruz v. Midland Credit Management, et al., 3:17cv1639-MMA (MDD);
Floyd v. Midland Credit Management, Inc., 3:14cv2423-MMA (MDD);
Holland v. Midland Credit Management, Inc., 3:14cv506-MMA (MDD);
Jesula v. Midland Credit Management, Inc., 3:15cv2009-MMA (MDD);
King v. Midland Credit Management, Inc., 3:14cv2909-MMA (MDD);
Laurore v. Midland Credit Management, Inc., 3:16cv2487-MMA (MDD);
Leone v. Midland Credit Management, Inc., 3:14cv905-MMA (MDD);
Maitlen v. Midland Credit Management, Inc., et al., 3:15cv2636-MMA (MDD);
McCulley v. Midland Credit Management, Inc., 3:16cv1361-MMA (MDD);
McDonald v. Midland Credit Management, Inc., 3:14cv689-MMA(MDD);
McGee v. Midland Credit Management, Inc., 3:14cv1317-MMA (MDD);
Miller v. Midland Credit Management, Inc., 3:15cv710-MMA (MDD);
Linko v. Midland Credit Management, Inc., et al., 3:14cv1442-MMA (MDD);
Neal v. Midland Credit Management, Inc., 3:15cv896-MMA (MDD);
Nelson v. Midland Credit Management, Inc., 3:15cv2008-MMA (MDD);
Pacheco Jr. v. Midland Funding, LLC, 3:17cv451-MMA (MDD);
Pugh v. Midland Credit Management, Inc., 3:16cv1977-MMA (MDD);
Vasquez v. Midland Credit Management, Inc., et al., 3:16cv1294-MMA (MDD);
Ward, et al. v. Credit One Bank, NA, et al., 3:17cv448-MMA (MDD);
Watters v. Midland Credit Management, Inc., et al., 3:17cv1687-MMA (MDD);
Wentworth v. Midland Funding, LLC, 3:14cv1355-MMA (MDD);
Wong v. Midland Funding, LLC, et al., 3:14cv1538-MMA (MDD)
